        Case 1:25-cv-02690-TAM                  Document 3-1            Filed 05/14/25      Page 1 of 1 PageID #: 27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

    Victor Barrios, on behalf of himself and others                 )
                   similarly situated,                              )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 25-cv-2690
                                                                    )
 Pro Property Reno Inc, Macarena Mas and Nelson                     )
                        Mas
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Macarena Mas
                                       428 Thompkins Street
                                       Orange, NJ 07050




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       William Brown, Esq.
                                       Brown Kwon & Lam, LLP
                                       521 5th Avenue, 17th Floor
                                       New York, New York 10175



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:       05/14/2025
                                                                                         Signature of Clerk or Deputy Clerk
